Maurice A. White, Transferee, Petitioner v. Commissioner of Internal Revenue, RespondentWhite v. CommissionerDocket No. 36562United States Tax Court28 T.C. 234; 1957 U.S. Tax Ct. LEXIS 198; April 30, 1957, Filed *198 Decision will be entered for the respondent.  Held, that a portion of the deficiency determined by the respondent, undisputed by the parties and due to standard issue adjustments, is not barred by the statute of limitations. Held, further, petitioner has failed to establish any right to relief under either section 721 or 722 (b) (4).  Grover D. Rose, Esq., for the petitioner.David H. Nelson, Esq., for the respondent.  Mulroney, Judge*199  .  MULRONEY *234  Respondent determined a deficiency in the income and excess profits taxes of the American Gear and Manufacturing Co. in the amount of $ 91,803.92 for the period from April 7, 1942, to December 31, 1942.  A portion of this deficiency was due to deferment of tax under section 710 (a) (5) of the Internal Revenue Code of 1939, and a portion was due to "standard issue" adjustments.  Respondent mailed a notice of transferee liability to Maurice A. White, who was transferee of all the assets of the American Gear and Manufacturing Co. on December 31, 1942.  This proceeding is based upon the determination by respondent of White's transferee liability.  Respondent also disallowed a claim for excess profits tax relief in the amount of $ 130,788.59, under section 722 (b) (4) of the 1939 Code made by the American Gear and Manufacturing Co. for the period from April 7, 1942, to December 31, 1942.  In addition to the claim for relief under section 722 (b) (4), White, by an amendment to the pleadings, claimed alternative relief under section 721 of the 1939 Code.  A further issue is whether the portion of the deficiency arising from certain "standard issue" adjustments is barred*200  by the statute of limitations.FINDINGS OF FACT.Some of the facts have been stipulated and they are herein incorporated by this reference.*235 American Gear and Manufacturing Co., hereinafter called American, was incorporated on April 7, 1942, under the laws of the State of Delaware, with an authorized capital stock of 60,000 shares, with a par value of $ 10 per share.  American filed its income and excess profits tax return for the period from April 7, 1942, to December 31, 1942, with the then collector of internal revenue for the first district of Illinois at Chicago.Maurice A. White, hereinafter called White, began doing business in November 1931, as an individual proprietorship under the name American Stock Gear Company.  On April 7, 1942, American was incorporated under the laws of Delaware, and on April 9 American issued 55,000 shares of its stock to White in exchange for all of the assets and the assumption of the liabilities of the business formerly carried on by him as a sole proprietorship.  On December 31, 1942, all of the assets of American were distributed to White, the sole stockholder, who surrendered all of his stock in American and assumed American's liabilities. *201 American was subsequently dissolved.  White, as transferee of the assets of American, assumed and agreed to pay all Federal income, excess profits, and declared value excess-profits taxes determined to be due from American for the period from April 7, 1942, to December 31, 1942.  During the period of its operation American kept its books and filed its returns on an accrual basis.White was first employed in the gear business in 1919, and after a short time in shop work he devoted most of his efforts to sales, sales analysis, and cost estimating with various gear manufacturers. He entered the gear business for himself in 1931 with 1,400 square feet of floor space in a store building at 640 West Washington Boulevard, Chicago, Illinois.  He carried, as a manufacturer's agent, a consigned stock of gears and parts, comprising about 12 lines, which he sold "off the shelf." White planned ultimately to manufacture special gears instead of being a merchandiser of stock gears. By 1937 he was doing some manufacturing of stock gears and he was also able to start some manufacturing of special gears. In 1932 he had a stock gear catalogue printed, but with considerable emphasis in the catalogue*202  on special gears which could be made to the customer's specifications. Since he had no machinery at this time, White purchased the raw material for special gears and had it prepared to specifications by outside firms.  White purchased the following used machines to be used in the manufacture of gears: In 1933 four, in 1934 fifteen, in 1935 fifteen, in 1936 twenty, in 1937 eleven, in 1938 twenty-three, and in 1939 twenty-seven.By January 1, 1936, White had rented additional space adjacent to the premises originally leased so that he then occupied 4,400 square feet of floor space. On July 21, 1936, he leased an additional 12,000 square feet at 646 West Washington Boulevard and an opening was *236  cut in the areaway wall of the property between 640 and 646 to give ready access to the original premises at 640 W. Washington Boulevard.  On August 22, 1939, he leased an additional 3,400 square feet adjacent to the original premises.  On June 14, 1939, White and Clearing Industrial District, Inc., hereinafter called Clearing, approved specifications for a building comprising approximately 28,188 square feet to be constructed for rental occupancy by the American Stock Gear Company, *203  under which name White was doing business.  On June 16, 1939, White signed a lease for the premises covered in the specifications which he sent to Clearing to be signed.  This lease was never executed by Clearing.  Clearing commenced construction of a building in August 1940 for which a lease, dated August 23, 1940, was executed by White and Clearing.  The 1940 lease covered substantially the same premises which had been covered by the unexecuted 1939 lease. White began to move some of the gear manufacturing machinery into the new building in April 1941.  By the end of that year White was performing war contracts in this plant.  In August 1941, White acquired an additional 12,000 square feet of space in the Clearing industrial district, and in August 1942 he acquired an additional 18,700 square feet in the same vicinity.  The original plant constructed by Clearing to White's specifications, as well as the later additions, was used to carry on manufacturing activities arising under the war emergency.White's 1932 stock gear catalogue was reissued in 1935 and 1938, and the latter catalogue differed from the prior two in that it designated White as a "manufacturer" of stock and special*204  gears and contained an insert showing pictures of stock gear bins, special gear machinery, and gear blanks.  Preparation of a special gear catalogue was started by White in 1935, and it was finally printed and issued to the trade in late November and early December 1939.  The prices for special gears quoted in the new special gear catalogue were identical to the price lists in the catalogue of several other special gear manufacturers.White, in 1937, began making surveys of mill suppliers in various territories for the purpose of obtaining distributors for his products.  Lack of response caused him to open a retail branch, with a machine shop, in Cleveland, and a retail store in New York City, in February and April 1938, respectively.  These two outlets were unsuccessful, and the New York store was closed in September 1938, while the Cleveland outlet was closed in July 1939.  White entered into contracts with 15 distributors in 1938, and 6 in 1939.  In addition he had 5 independent commission men.  The distributor contracts provided that each distributor was to carry a supply of stock gears ranging from $ 1,000 to $ 2,000.  Five of these distributors' contracts *237  were canceled*205  in 1940, four in 1941, and the rest in 1942, when White was heavily engaged in war work.During 1939 the work in the shop averaged 60 hours per week, and production was approximately 4 gears per day per machine. The number of White's employees was as follows:January 193615December 193628January 193729November 193735December 193729January 193838December 193840January 193941December 193950November 1940124January 194190December 1941208January 1942243December 1942529Throughout the base period the special gear business was highly competitive.  The American Gear Manufacturers Association had 341 members, and there was an equal number of gear manufacturers who did not belong to the association.  There were only 4 manufacturers of stock gears in the United States.  There were at least 36 gear manufacturers in the Chicago area during the base period.White's net sales, gross profits, and operating profits for the years 1936 through 1941 were as follows:Per cent ofPer cent ofYearNet salesGross profitgross profitOperatingoperatingto net salesprofitprofit to netsales1936$ 107,002.48$ 38,853.8936.31$ 16,974.9015.861937152,053.9147,911.1531.5118,379.9012.091938148,253.6861,828.4241.7013,747.629.271939184,021.6863,228.1734.3614,291.227.771940292,060.6996,881.2433.1739,416.8213.501941775,049.31236,668.2130.54152,020.4319.61*206  White's special gear business increased steadily from 1936 on.  In 1936 his special gear sales represented 4.5 per cent of total gear sales; in 1937, 10.1 per cent; in 1938, 19.6 per cent; and in 1939, 42.1 per cent.  The sales (to the nearest hundred dollars) of both types of gears during this period were as follows:YearStock gearsSpecial gearsTotal1936$ 59,600$ 4,900$ 64,500193792,80015,400108,200193885,00028,100113,100193975,80077,500153,300Net sales, gross profits, and operating profits of White during the period he operated as an individual proprietorship from January 1 to April 9, 1942, and of American for the period from April 9 to December 31, 1942, were as follows: *238 Per cent ofPeriodNet salesGross profitsgross profitsto net salesJan. 1 to Apr. 9, 1942$ 513,916.42$ 153,183.8830.71Apr. 9 to Dec. 31, 19422,519,112.06504,643.9628.63Per cent ofPeriodOperatingoperatingprofitprofit tonet salesJan. 1 to Apr. 9, 1942$ 111,068.8522.27Apr. 9 ro Dec. 31, 19421 275,681.7215.64*207  A composite of the net sales, gross profits, and operating profits, before deductions for officers' salaries and before any renegotiation adjustments, of 6 special gear manufacturers in the Chicago area who were among the principal competitors of American and its component is as follows:Per cent ofPer cent ofYearNet salesGross profitgross profitOperatingoperatingto net salesprofitprofit tonet sales1936$ 4,689,766$ 1,489,89431.77$ 407,7698.6919377,116,2572,324,88132.66854,08812.0019384,290,1881,417,71733.05203,1804.7419394,250,2571,355,32831.89211,5614.9819407,014,5662,373,21233.83935,76213.34194114,675,7025,704,85438.873,490,17623.78194235,283,21516,285,86946.169,612,54027.24The monthly index showing the trend of the gear business for the years 1936 through 1942 (using 1928 as 100) as prepared by the American Gear Manufacturers Association, is as follows:Month1936193719381939194019411942January90.5144.093.091.0123259.0288.0February93.0130.577.086.0116262.0353.0March92.0195.091.0104.0114288.0455.0April105.0164.074.088.0128292.0378.0May105.0125.570.093.0133273.0421.0June105.0134.058.090.0129299.0373.0July107.5124.067.089.0141298.0344.0August113.0125.076.596.0191276.0380.0September115.5123.080.5126.0183243.0351.0October112.0139.572.5141.0216261.0263.0November122.5127.572.0126.0173241.0359.0December132.597.081.0111.0208243.0300.0Average107.5135.576.0103.5155269.5355.5*208  The Federal Reserve Board monthly index of manufacturers for the years 1936 through 1942 (1935-1939 average=100) is as follows:TotalYearJan.Feb.Mar.Apr.MayJuneJulyAug.Sep.Oct.Nov.Dec.foryear193694919399101104106107109111114118104193711811912012212312012112011510693841131938828282797979848992959910087193910110110199100103105109115122125126109194012311711311311812412412813213513914412619411471521561591671701731741761791821841681942189192196200203205210217222230236240212*239 American filed a timely application for relief under section 722 (b) (4) of the 1939 Code for the taxable year April 7 to December 31, 1942, and also a claim for relief under section 721.  White executed and delivered waivers and consents fixing the period of limitation upon assessment of liability at law or in equity for income and excess profits tax against a transferee, extending the time within which an assessment might*209  be made for American's taxable year April 7 to December 31, 1942, to June 30, 1951.  Respondent mailed a notice of transferee liability for a deficiency in excess profits tax of $ 91,803.92 including a notice of the disallowance of the claims of American for relief under section 722 of the 1939 Code to White on June 14, 1951.American qualified as an acquiring corporation under section 740 (a) (1) (D) of the 1939 Code, and White, doing business as American Stock Gear Company and/or American Gear and Manufacturing Co., qualified as a component corporation under section 740 (b) (5) and 740 (h) of the 1939 Code.  American was therefore entitled to use the average base period net income of its component under sections 742 and 722 (e) (2) of the 1939 Code.  American was entitled to compute its excess profits credit in accordance with the provisions of either section 713 or section 714 of the 1939 Code and to use whichever credit resulted in the lesser excess profits tax, as provided by section 712 (a) of the 1939 Code.The excess profits net income of American's qualified component for each of the base period years, without the adjustments necessary to place such component on a corporate*210  basis under the provisions of section 742 (g) of the 1939 Code and section 35.742-1 (b) (2) of the respondent's Regulations 112, was as follows:1936$ 16,999.63193718,506.55193813,812.31193914,294.42Average$ 15,903.23American's excess profits net income for the taxable year April 7 to December 31, 1942, was $ 322,182.58, and its excess profits credit computed pursuant to section 714 of the 1939 Code for this same period was $ 34,704.78.  American's excess profits tax liability for this period, as finally determined by the respondent under section 710 (a) (1) (B) of the 1939 Code (80 per cent limitation rule), is $ 222,592.51.  American's effective credit through the operation of the 80 per cent limitation approximated $ 87,700.OPINION.A portion of the deficiency determined by the respondent for the period April 7 to December 31, 1942, was due to "standard issue" adjustments.  No error was assigned by White in *240  the petition to this Court as to these adjustments and he contends that this portion of the deficiency is now barred by the statute of limitations. His argument on brief is as follows:In the case at bar, the time for the assessment*211  of taxes against American [White's transferor] had been extended by written consent of the parties to June 30, 1951.  The respondent's deficiency notice -- the 90-day letter -- was mailed June 14, 1951.  Thereupon, the period within which an assessment might be made was suspended during the 90-day period within which the taxpayer might file a petition for redetermination by the Tax Court, plus 60 days thereafter, plus the 16-day period between June 14, 1951 and June 30, 1951, or, in other words, to November 27, 1951.  Of course, if within the 90-day period allowed by law the taxpayer had filed a petition putting the standard issue adjustments in issue, then the Commissioner could not have made an assessment until after the decision of the Tax Court had become final, but since the petitioner in this case did not put any of the standard issue adjustments in question, the time within which an assessment arising out of those issues could be made expired November 27, 1951. * * *A similar argument was rejected by this Court in Green Spring Dairy, Inc., 18 T. C. 217, modified 18 T. C. 929, affd.  208 F. 2d 471.*212  Also, it is obvious that in this transferee proceeding the respondent can make an assessment against White, the transferee, only if transferee liability in some amount results from this trial.  We hold that no portion of the deficiency determined by the respondent is barred by the statute of limitations.White seeks relief from excess profits tax for the period April 7 to December 31, 1942, under section 721 of the 1939 Code, which section is designed to afford relief to a taxpayer who receives income in any taxable year which is abnormal within the meaning of the statute.  Abnormal income is defined in section 721 (a) (1) as "income of any class includible in the gross income of the taxpayer for any taxable year * * * if it is abnormal for the taxpayer to derive income of such class, or, if the taxpayer normally derives income of such class but the amount of such income of such class includible in the gross income of the taxable year is in excess of 125 per centum of the average amount of the gross income of the same class for the four previous taxable years * * *." Several classes of income are described in section 721 (a) (2) which provides, in addition, that the "classification*213  of income of any class not described * * * shall be subject to regulations prescribed by the Commissioner * * *." Relief is granted only for net abnormal income, defined in section 721 (a) (3), 1 which is attributable to other taxable years under section 721 (b).*214 *241   To obtain relief it is essential for a taxpayer to establish (1) the class and amount of abnormal income in the taxable year; (2) the amount of net abnormal income computed therefrom; and (3) the portion of net abnormal income which is attributable to other taxable years.  Caldwell-Clements, Inc., 27 T. C. 691; E. W. Williams Publications, Inc., 25 T. C. 282; and Powell-Hackney Grocery Co., 17 T. C. 1489.At the outset, we have serious doubts that section 721 can apply to a corporation which, like American, only has a corporate existence of approximately 9 months in 1942.  As we have pointed out, relief under this section is granted only for net abnormal income which is attributable to other taxable years, and it is difficult to see how a corporation with no prior or subsequent existence can ever qualify.  There is no statutory authority for attributing any net abnormal income in a situation like this to any other taxpayer, and we have been presented with no reasonable basis for doing so.Assuming, arguendo, that section 721 is applicable here, we do not believe that there has*215  been established any right to relief under section 721.  The argument presented by White falls short in several respects.  First, White is obscure as to the class of income he hopes to establish.  He begins with the fact, which is not disputed by the record, that all of American's income for the period April 7 to December 31, 1942, was from the manufacture and sale of special gears. In effect, all of the income of American during this period is considered by White as establishing a class of income for purposes of section 721 (a) (3).  This does not comply with the requisites of the statute.  In Producers Crop Improvement Association, 7 T. C. 562, 566, we pointed out that the "class of income" described in section 721 (a) (1) and (b) is a "class includible in the gross income." Similarily, in Eitel-McCullough, Inc., 9 T. C. 1132, 1147, we said:A taxpayer has "abnormal income" under section 721 (a) (1) only if the income of the taxable years and that of the base period to which the statutory formula is to be applied be "recognized as a separate class." Geyer, Cornell &amp; Newell, Inc., 6 T. C. 96.*216  The statute by its terms requires identification of a "class" of income, either of any class described in subsections (a) (2) (A) to (F), inclusive, or of some other class under the regulations prescribed by the Commissioner with the approval of the Secretary. * * *Nor can White establish a separate class of income within section 721 (a) (2) (C) which creates as a class the "[income] resulting from exploration, discovery, prospecting, research, or development of tangible property, patents, formulae, or processes, or any combination of the foregoing, extending over a period of more than 12 months." American, *242  White's transferor, was in existence only during the period April 7 to December 31, 1942.  Prior to that, White had engaged in the manufacture of special gears as an individual proprietor.  It has been held by this Court that any research and development must be that of the taxpayer, not its predecessor. Electronic Mechanics, Inc., 15 T. C. 489.Assuming, however, that a class of income has been properly established, another serious obstacle appears.  White cannot be given section 721 relief unless he can establish that a portion of the*217  net abnormal income of the taxable year is attributable to other years.  Section 721 (b) provides that the net abnormal income attributable to other years shall be determined under regulations prescribed by the Commissioner.  The pertinent regulations, Regs. 112, sec. 35.721-3, provide, in part, as follows:To the extent that any items of net abnormal income in the taxable year are the result of high prices, low operating costs, or increased physical volume of sales due to increased demand for * * * the type of product sold by the taxpayer, such items shall not be attributed to other taxable years.  Thus, no portion of an item is to be attributed to other years if such item is of a class of income which is in excess of 125 percent of the average income of the same class for the four previous taxable years solely because of an improvement in business conditions.  In attributing items of net abnormal income to other years, particular attention must be paid to changes in those years in the factors which determined the amount of such income, such as changes in prices, amount of production, and demand for the product. * * *We have previously sustained these regulations of the *218  respondent as valid.  Soabar Co., 7 T. C. 89.We have examined the record carefully and must conclude that any net abnormal income of American for the period April 7 to December 31, 1942, was due to an improvement in business conditions, and, consequently, no part of it can be attributed to years other than the taxable year. It is obvious from the record that this country's preparation for war, and the war itself, had a tremendous effect on business conditions in general.  A manifestation of this appears from the sales of White and American.  In 1940 White's net sales were $ 292,060.69 and gross profit was $ 96,881.24; in 1941, net sales were $ 775,049.35 and gross profit was $ 236,668.21; from January 1 to April 9, 1942, White's net sales were $ 513,916.42 and gross profit was $ 153,183.88; and from April 7 to December 31, 1942, the taxable period before us, American's net sales were $ 2,519,112.06 and gross profit was $ 504,643.96.  White has failed to prove what, if any, portion of the net abnormal income for the period April 7 to December 31, 1942, was not due solely to an improvement in business conditions.  We think it is inescapable that the greater*219  profits earned in the taxable period before us were due to the improved business conditions stimulated by the war, and other factors present during the taxable period, and *243 Congress clearly intended the excess profits tax to apply to such increases or excess profits.  See H. Rept. No. 146, 77th Cong., 1st Sess.  (1941-1 C. B. 557). White has failed to show that any part of the net abnormal income is attributable to other years under section 721 (b), and we conclude that his claim for relief must be denied.White also seeks relief under section 722 (b) (4) of the 1939 Code.  Since this is a transferee proceeding, it is necessary to clarify some of the jurisdictional aspects.  Section 722 (d) provides, "The benefits of this section shall not be allowed unless the taxpayer" within the prescribed period "makes application therefor in accordance with regulations prescribed by the Commissioner * * *." (Emphasis supplied.) We are satisfied from the evidence before us that the application for relief was properly made by American, through White acting under proper authority as president and treasurer of the American Gear and Manufacturing Co.  Also, it*220  must be emphasized that in this proceeding, which is based upon the respondent's notice of transferee liability to White, there can be no decision that White is entitled to any overpayment of tax for the period involved.  White, as transferee, is here contesting a transferee liability, and the most he can establish is that there is no such liability.  Beyond this we cannot go in a proceeding of this nature.We turn now to a consideration of the arguments presented under section 722 (b) (4).  American, which was White's corporate transferor, had an excess profits net income for the taxable period April 7 to December 31, 1942, in the amount of $ 322,182.58.  Its excess profits credit computed under the invested capital method, section 714 of the 1939 Code, was $ 34,704.78.  The excess profits net income of American's qualified component for the base period, 1936 through 1939, without the adjustments necessary to place such component (White) on a corporate basis under the provisions of section 742 (g) of the 1939 Code, was $ 16,999.63 in 1936, $ 18,506.55 in 1937, $ 13,812.31 in 1938, and $ 14,294.42 in 1939, averaging $ 15,903.23 over the base period. American's excess profits tax *221  liability for the taxable period, as finally determined by the respondent, under section 710 (a) (1) (B) of the 1939 Code (80 per cent limitation rate), was $ 222,592.51.  American's effective credit through the operation of the 80 per cent limitation was approximately $ 87,700.White contends that he changed the character of his business during the base period and bases his contention on (1) the change in 1937 from retail sales of gears to the manufacture of special gears, (2) establishing in 1938 and 1939 a new system of distribution for his products, (3) the publication and distribution of a special gear catalogue in the last month of the base period, and (4) a commitment prior to January 1, 1940, to expand his capacity for production by the acquisition of new space. He argues that, due to the changes in character, *244  his business did not reach, by the end of the base period, the earning level it would have reached if such changes had been made 2 years earlier, and that if such changes had occurred 2 years earlier White's business would have reached, in the last base period year, net sales of $ 1,915,200 and net earnings of $ 385,147.Respondent concedes that there was a*222  change in the character of White's business during the base period through the change "from jobbing to manufacturing, and possibly the signing of distributors." This, however, is merely one qualifying factor under section 722 (b) (4).  To qualify for relief under section 722 White must show not only that its average base period net income is an inadequate standard of normal earnings, but must also establish what would be a fair and just amount representing normal earnings, and then, as we stated in Mokry &amp; Tesmer Machine Co., 23 T. C. 12, 18, "there is still no relief under section 722 unless the excess profits credit, based upon the constructive average base period net income which is established, is greater than the excess profits credit computed without the benefit of section 722." American's credit under the invested capital method in section 714, which method produced a more favorable credit than one computed under the income method in section 713, was $ 34,704.78.  However, due to the operation of the 80 per cent limitation in section 710 (a) (1) (B), American's effective credit was approximately $ 87,700.  Consequently, to obtain relief under *223  section 722, White must establish a credit greater than the effective credit of $ 87,700, already received by him, as well as the invested capital credit of $ 34,704.78.White's method of establishing a constructive average base period net income makes it totally unacceptable.  Its shortcomings are readily apparent.  White had 114 machines on December 31, 1939, with a capacity of producing 4 special cut gears daily, making a maximum daily capacity of 456 gears. Using an average sales price of $ 14 each for the gears, he arrives at daily sales of $ 6,384, and on the basis of 300 days computes an annual net sales figure of $ 1,915,200, and regards this as the volume of net sales that would have been attained by December 31, 1939, by American's predecessor if the change in the character of its business had occurred 2 years earlier.  This computation is completely unrealistic.  One indication of this appears from the experience of American's predecessor after the base period. It is true that we cannot consider experience after the base period under these relief sections, but for the sole purpose of gauging the reality of the computations presented to us, we consider it significant that*224  even after 2 years of actual experience subsequent to the base period and subsequent to the various changes in the business, American's predecessor managed to make in 1941 net sales of only $ 775,000, which was accomplished with the aid of the defense effort and with the help of 4 customers *245  who alone accounted for one-fourth of the total sales for that year in the last 3 months.  Another weakness in this computation of net sales is White's unwarranted assumption that he would be operating at maximum capacity throughout the base period. To establish what would be a fair and just amount representing normal earnings to be used as a constructive average base period net income it is essential to remain within the economic and business framework of the base period. There is no evidence in the record from which we can determine that there was sufficient demand in the special gear industry, which was highly competitive, to absorb the maximum capacity of White's business operating with 114 machines during the base period.Equally arbitrary is White's last step in the computation of a constructive average base period net income. After he determines the reconstructed net*225  sales figures for the base period, ranging from $ 1,989,893 in 1936 to $ 1,915,200 in 1939, he takes 20.11 per cent of such figures to arrive at a constructive average base period net income of $ 393,042.  This figure, 20.11 per cent, represents the actual per cent of net profit to net sales experienced by White in his operations for the year 1941, 2 years after the close of the base period. Here again, as in the reconstruction of net sales, White makes no effort to reconstruct his operations in the light of conditions as they existed during the base period. During the base period, White's percentages of operating profit to net sales were 15.86 per cent in 1936, 12.09 per cent in 1937, 9.27 per cent in 1938, and 7.77 per cent in 1939.  During the same period his sales of special gears grew steadily from $ 4,900 in 1936 to $ 77,500 in 1939, while his sales of stock gears went from $ 59,600 in 1936 to $ 92,800 in 1937 and then fell to $ 75,800 in 1939.  Thus, from the evidence before us, we cannot say that White's net earnings from the sale of special gears, with 2 years of added experience under normal conditions, would reach a point where they would be 20.11 per cent of net sales. *226  In fact, the percentage of net profit to sales seemed to decrease as sales increased, and it is quite possible that White's increases in sales of special gears during the base period were at the expense of profits in order to obtain business in the highly competitive field.White's computation of constructive net earnings has been based upon post-1939 conditions, and therefore is contrary to the requirements of the statute.  Congress made its intent clear on this point:In order to eliminate consideration of the effects of the war, it is provided that, in determining the constructive average base period net income, no regard shall be had to events or conditions affecting the taxpayer * * * after December 31, 1939.  Thus high war prices, swollen demand, and other factors which would not be normal prior to the imposition of the excess profits tax shall be eliminated in the computation of the normal or average earnings capacity of the taxpayer * * *.  [S. Rept. No. 1631, 77th Cong., 2d Sess., 1942-2 C. B. 504, 649.]*246  We hold that White has failed to establish a fair and just amount to be used as a constructive average base period net income that*227  would result in an excess profits credit for the period April 7 to December 31, 1942, greater than the excess profits credit computed under the invested capital method to which White is already entitled.  White, as American's transferee, is not entitled to relief under section 722.Reviewed by the Special Division as to application of section 721 and section 722 (b) (4).Decision will be entered for the respondent.  Footnotes1. After deduction of officers' salaries paid to White of $ 44,054.76.↩1. SEC. 721.  ABNORMALITIES IN INCOME IN TAXABLE PERIOD.(a) Definitions.  -- For the purposes of this section -- * * * *(3)Net abnormal income.  -- The term "net abnormal income" means the amount of the abnormal income less, under regulations prescribed by the Commissioner with the approval of the Secretary, (A) 125 per centum of the average amount of the gross income of the same class determined under paragraph (1), and (B) an amount which bears the same ratio to the amount of any direct costs or expenses, deductible in determining the normal-tax net income of the taxable year, through the expenditure of which such abnormal income was in whole or in part derived as the excess of the amount of such abnormal income over 125 per centum of such average amount bears to the amount of such abnormal income.↩